232 F.2d 383
    UNITED BOAT SERVICE CORPORATION, Libelant-Appellant,v.Stewart J. DAILEY, d/b/a Dailey Lighterage Company,Respondent-Appellee.
    No. 304, Docket 23882.
    United States Court of Appeals Second Circuit.
    Argued April 2, 1956.Decided April 20, 1956.
    
      Gray &amp; Wythe, Proctors, New York City, Horace M. Gray, New York City, of counsel, for libelant-appellant.
      Mahar &amp; Mason, New York City, Frank C. Mason, New York City, of counsel, for respondent-appellee.
      Before FRANK, MEDINA and WATERMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      The findings, amply supported by the evidence, are not 'clearly erroneous.'  As the judge found that the respondents' vessels were not in peril, he correctly held that no salvage could be recovered.
    
    
      2
      Although the policy involved in payment for salvage seems to be that of encouraging human aid to ships in peril, we leave open the question whether, absent any human aid, as here, salvage may be awarded.
    
    
      3
      Affirmed.
    
    